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 1                          UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 2

 3     BORISLAVA YORDANOVA,          )        CASE NO. 2:21-CV-01167-RFB-DJA
                                     )
 4                       Plaintiff, )
                                     )
 5           vs.                     )
                                     )
 6     GLENN THACKER, JR., ET AL.,   )        ORDER TEMPORARILY
                                     )         UNSEALING NOTES
 7                       Defendants. )
                                     )
 8

 9             On October 20, 2021, Paige Christian, Transcriber,

10     received a Transcript Order form requesting a transcript of the

11     Settlement Conference held on October 19, 2021, from Mark

12     Severino, Esq. in which a portion of the hearing was sealed.

13             IT IS THE ORDER OF THE COURT that the sealed transcript

14     shall be unsealed for the limited purpose of providing a copy

15     of the transcript as requested by Mark Severino, Esq.

16             IT IS FURTHER ORDERED that the sealed transcript shall

17     thereafter be resealed, and a certified copy of the transcript

18     be delivered to the Clerk pursuant to 28, U.S.C., Section

19     753(b), until further order of this Court.

20             IT IS FURTHER ORDERED that the receiving party shall not

21     disclose the sealed contents of the transcript of the

22     proceeding to anyone other than the representatives of the

23     parties directly concerned with this case.
                            22nd
24             DATED this   21st     day of   October    , 2021.

25
                                   Daniel J. Albregts, U.S. Magistrate Judge
